                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                            Case No. 21-3077-01-CR-S-RK

 TIMOTHY A. SAPP,

                                Defendant.

                   MOTION OF THE UNITED STATES FOR PRETRIAL
                    DETENTION HEARING PURSUANT TO TITLE 18,
                       UNITED STATES CODE, SECTION 3142(f)

       The United States of America, by the United States Attorney for the Western District of

Missouri, hereby moves the Court to order a pretrial detention hearing pursuant to 18 U.S.C.

§ 3142(f), for the purpose of presenting evidence to determine whether any condition or

combination of conditions of release will reasonably assure the defendant’s appearance as required

by the Court and the safety of other persons and the community. As grounds for the motion, the

United States submits that:

       1.       There is probable cause to believe that the defendant committed the offenses of
                making a false statement during a firearm purchase, in violation of 18 U.S.C. §§
                922(a)(6) and 924(a)(2); and transfer of a firearm to a prohibited person, in
                violation of 18 U.S.C. §§ 922(d) and 924(a)(2);

       2.       The defendant poses a risk to the safety of others in the community; and

       3.       The defendant poses a risk to flee.

                                SUPPORTING SUGGESTIONS

       Title 18, United States Code, Section 3142(f)(1)(E) provides that a hearing must be held

by the appropriate judicial officer to determine whether any condition or combination of conditions

will reasonably assure the defendant’s appearance and the safety of any other person in the




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community if the attorney for the government moves for such a hearing and if the case involves

any felony that involves the possession or use of a firearm. In this case, the defendant is charged

with unlawfully transferring a firearm to a prohibited person and making a false statement during

the purchase of a firearm.

       Title 18, United States Code, Section 3142(g) lists the factors this Court should consider

in determining whether it can fashion conditions which will reasonably assure the appearance of

the defendant as required and the safety of the community. These factors include: (1) the nature

and circumstances of the offense charged; (2) the weight of the evidence against the defendant; (3)

the history and characteristics of the defendant, including his criminal history; and (4) the nature

and seriousness of the danger to the community that would be posed by the defendant’s release.

18 U.S.C. § 3142(g).

       To support the Government’s contention that the defendant is a flight risk and a danger to

the safety of the community, the Government offers that:

       1. On or about March 18, 2020, the defendant, an admitted user of marijuana and
          methamphetamine, conducted a straw purchase of a firearm for James Mangold, a
          convicted felon and drug user. The defendant lied while filling out ATF Form 4473 in
          that he stated he was the true purchaser of the firearm and that he was not an unlawful
          user of controlled substances.

       2. Following search warrant executions on April 14, 2020, the defendant lied to law
          enforcement regarding that firearm (seized from Mangold’s apartment) and two others
          (seized from his drug supplier, Dustin Brenneman’s residence), by stating that all three
          of the firearms belonged to him.

       3. On or about April 21, 2021, the defendant was advised he would be indicted. Later that
          evening, he committed a domestic assault against his girlfriend.




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       For the reasons set forth above, the United States requests that a detention hearing be held

and that the defendant be denied bail.

                                                         Respectfully submitted,

                                                         TERESA A. MOORE
                                                         Acting United States Attorney

                                                By       /s/ Jessica R. Sarff
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                                         Certificate of Service

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 15,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                                /s/ Jessica R. Sarff
                                                Jessica R. Sarff
                                                Assistant United States Attorney




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